

People v Ikpemgbe (2024 NY Slip Op 00238)





People v Ikpemgbe


2024 NY Slip Op 00238


Decided on January 18, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2024

Before: Oing, J.P., Kennedy, Mendez, Rodriguez, Michael, JJ. 


Ind No. 70236/22 Appeal No. 1444 Case No. 2022-04141 

[*1]The People of The State of New York, Respondent, 
vCornelius Ikpemgbe, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Victorien Wu of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Catherine Marotta of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Felicia A. Mennin, J.), rendered August 30, 2022,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








